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              SARETSKY KATZ DRANOFF WEISSMAN & MAYNARD, L.L.P.
                                     565 Taxter Road, Suite 210
                                     Elmsford, New York 10523
                                          TELEPHONE (212) 973‐9797
                                          FACSIMILE (212) 973‐0939
                                       E‐MAIL rweissman@skdwmlaw.com
                                                www.skdllp.com




                                                                                 January 13, 2025


Via ECF
Hon. Cathy Seibel
U.S. District Court, Southern District of New York
300 Quarropas Street, Courtroom 621
White Plains, New York 10601-4150


      Re:    Wayne Ballard v. The County of Rockland, Hon. Thomas E. Walsh II, et al.
             Docket No.: 24-CV-02944 (CS)


Dear Judge Seibel:

        On behalf of all defendants, we are prepared to e-file all bundled motion documents today in
connection with our motions to dismiss Plaintiff’s Second Amended Complaint. However, because
Plaintiff’s opposition includes a grand jury transcript and a video of his police interview, both of
which are being filed under seal with the Court’s permission, we respectfully request permission to
e-file our replies with the portions that deal with those exhibits redacted. We also request permission
to file two responsive exhibits under seal; Plaintiff’s motion to dismiss the indictment in the
underlying criminal prosecution and the District Attorney’s Office’s opposition to said motion. We
would, of course, provide the Court with unredacted copies of all documents. We only propose
redacting the publicly-filed copies. We e-mailed Plaintiff’s counsel as to this issue but have not yet
received a response. Thank you for your consideration.

                                                        Respectfully,


                                                        Robert B. Weissman



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